     Entered on Docket June 30, 2020
                                                    Below is the Order of the Court.


                                                    _______________________________
                                                    Marc Barreca
                                                    U.S. Bankruptcy Judge
 1
                                                    (Dated as of Entered on Docket date above)
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4
5_______________________________________________________________
6        IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                 WESTERN DISTRICT OF WASHINGTON
7
8    In Re:                        CASE NO. 14-17526-MLB
9       GARTH A. MACLEOD,                                 ADVERSARY No. 18-01149-
10                                                        MLB
             Debtor,
11

12
        EDMOND J. WOOD, solely in his
13
        capacity as the chapter 7 trustee of
14      the bankruptcy estate of GARTH A.
15      MacLEOD,
                                                          ORDER GRANTING IN PART
16            Plaintiff,                                  AND DENYING IN PART
17                                                        DEFENDANTS' MOTION FOR
                           vs.                            PARTIAL SUMMARY
18                                                        JUDGMENT
19      JONATHAN SMITH, P.S., a
        Washington professional services
20      corporation d/b/a ADVANTAGE
21      LEGAL GROUP, and JONATHAN
        SMITH, an individual,
22

23            Defendants.
24

25
       Order Granting in Part and Denying in Part         WAID LAW OFFICE, PLLC
       Defendants' Motion for Partial Summary
                                                          5400 CALIFORNIA AVENUE SW, SUITE D
       Judgment                                           SEATTLE, WA 98136
                                                          206.388.1926
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 1           This matter came before the Court on June 24, 2020 on Defendants'
 2
     Motion for Partial Summary Judgment [Dkt. #28] and Plaintiff's Request
3
4    for Judicial Notice [Dkt. #35]. The Court having heard oral argument from

 5   the parties and having stated its findings of facts and separate conclusions
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     of law on the record pursuant to Fed. R. Civ. P. 52(a)(1) and Fed. R. Bankr.
 7
8    P. 7052; now therefore,
9            The Court hereby ORDERS, ADJUDGES and DECREES as
10
11   follows:

12           1.     Defendants' motion for summary judgment is GRANTED, IN
13
                    PART, and Plaintiff's claim for disgorgement of $12,000 in
14

15                  attorney fees paid by the Debtor to Defendant Smith is
16                  therefore dismissed, and;
17
             2.     Defendants' motion for summary judgment is DENIED,
18
19                  WITHOUT PREJUDICE IN ALL OTHER RESPECTS.
20

21                                          ///End of Order//
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25
      Order Granting in Part and Denying in Part      WAID LAW OFFICE, PLLC
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